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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

CASE NO. 17-cr-00384-CMA

UNITED STATES OF AMERICA,

                Plaintiff,

v.

ERIC R. BOLDUAN,

                Defendant.



              UNOPPOSED MOTION TO CONTINUE SENTENCING HEARING


       COMES NOW the Defendant, Eric Bolduan (“Mr. Bolduan”), by and through

undersigned counsel, Assistant Federal Public Defender, Matthew C. Golla, and

respectfully requests this Honorable Court to continue the sentencing hearing currently

set for Thursday, November 29, 2018, at 2:00 p.m. in the above-captioned case for a

period of forty-five (45) days. In support of this motion, undersigned counsel would show

as follows:

       1.       A sentencing hearing is currently scheduled for Thursday, November 29,

2018, at 2:00 p.m.

       2.       Counsel needs additional time to prepare for sentencing. Counsel has

retained a clinical psychologist, Dr. Birgit Fisher, to conduct a mental health assessment

of Mr. Bolduan. Dr. Fisher indicated to undersigned counsel that she needs an additional

two weeks to complete the mental health evaluation.
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       3.     In addition, once the mental health evaluation is completed, counsel will

need to review the mental health evaluation with Mr. Bolduan and prepare a sentencing

memorandum.

       4.     Counsel contacted Assistant United States Attorney Valeria Spencer, and

she does not oppose this motion.

       WHEREFORE, counsel respectfully requests that the sentencing hearing currently

scheduled for Thursday, November 29, 2018, at 2:00 p.m. be continued for a period of

forty-five (45) days.

                                        Respectfully submitted,

                                        VIRGINIA L. GRADY
                                        Federal Public Defender



                                        s/ Matthew C. Golla
                                        Matthew C. Golla
                                        Assistant Federal Public Defender
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                             CERTIFICATE OF SERVICE

      I hereby certify that on November 9, 2018, I electronically filed the foregoing
Unopposed Motion to Continue Sentencing Hearing with the Clerk of Court using the
CM/ECF system, which will send notification of such filing to the following e-mail
addresses:

      Valeria N. Spencer, Assistant United States Attorney
      Email: Valeria.Spencer@usdoj.gov

and I hereby certify that I have mailed or served the document or paper to the following
non CM/ECF participant in the manner (mail, hand-delivery, etc.) indicated by the non-
participant’s name:

      Eric Bolduan (via U.S. Mail)



                                        s/Matthew C. Golla
                                        MATTHEW C. GOLLA
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                                        Denver, CO 80202
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